Case 1:18-cv-00477-LEK-RT Document 112 Filed 09/19/19 Page 1 of 1                  PageID #: 1646




                                        MINUTES



   CASE NUMBER:             CV NO. 18-00477 LEK-RT
   CASE NAME:               A. B. by her parents and next friends, C.B. and D.B., et al. v.
                            Hawaii State Department of Education, et al.
   ATTYS FOR PLA:           Elizabeth Kristen
                            Jayma M. Meyer
                            Mateo Caballero
   ATTYS FOR DEFT:          Kendall J. Moser
                            William R.K. Awong
                            Lauren Nakamura
                            Lyle S. Hosoda


         JUDGE:      Leslie E. Kobayashi            REPORTER:         Debi Read

         DATE:       9/19/2019                      TIME:             2:45pm-3:40pm


  COURT ACTION: EP: Hearing on [59] Plaintiffs' Motion for Class Certification was
  held.

  Oral arguments heard.

  [59] Plaintiffs' Motion for Class Certification - pending additional briefing.

  Plaintiffs’ supplemental briefing is due 9/26/2019.

  Defendants’ supplemental briefing is due 9/26/2019.

  Responses from both parties are due on 10/3/2019 and shall be no more than 10 pages
  (excluding exhibits).


  Submitted by: Shelli Mizukami, Courtroom Manager
